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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0476V
                                          UNPUBLISHED


    DAVID FRANK,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: February 2, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Harrison Whitten Long, Rawls Law Group, Richmond, VA, for Petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION ON JOINT STIPULATION 1

        On April 21, 2020, David Frank filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine administration
(“SIRVA”) as a result of an influenza (“flu”) vaccine he received on November 12, 2018.
Petition at 1; Stipulation, filed at February 1, 2022, ¶¶ 2, 4. Petitioner further alleges that
he experienced the residual effects of his injury for more than six months. Petition at ¶¶
8; Stipulation at ¶¶ 4. Respondent denies “that Petitioner sustained a SIRVA Table injury;
denies that the vaccine caused Petitioner’s alleged shoulder injury, or any other injury;
and denies that his current condition is a sequela of a vaccine-related injury.” Stipulation
at ¶ 6.

       Nevertheless, on February 1, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $39,500.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 DA YID FRANK,

                Petitioner,                             No. 20-476V
                                                        Chief Special Master Corcoran
 V.                                                     ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


                                         STIPULATION

       The parties hereby stipulate to the following matters:

        1. David Frank ("petitioner"), filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-l Oto 34 (the '·Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner·s receipt

of the influenza ("flu") vaccine, which is contained in the Vaccine Injury Table (the 'Table"), 42

C.F.R. § 100.3(a)

       2. Petitioner received the flu vaccine on November 12, 2018.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that he sustained a shoulder injury related to vaccine administration

("SIRVA") within the time period set fo11h in the Table, or in the alternative. that his alleged

shoulder injury was caused by the vaccination. He further alleges that he experienced the

residual effects of this condition for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civi I action

for damages on his behalf as a result of his alleged injury.
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        6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

vaccine caused petitioner's alleged shoulder injury, or any other injury; and denies that his

current condition is a sequela of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(I), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $39,500.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21 (a)( I), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I 0. Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

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        I I. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney's fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l 0 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resu Iting

from, or alleged to have resulted from, the flu vaccination administered on November 12, 2018,

as alleged in a petition for vaccine compensation filed on or about April 21, 2020, in the United

States Cou,1 of Federal Claims as petition No. 20-476V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Cou11 of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the pa11ies '

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

pa11ies hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged injury or

any other injury or his current disabilities, or that petitioner suffered an injury contained in the

Vaccine Injury Table.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                      END OF STIPULATION




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Respectfully submitted,

PETITIONER:


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DAVID FRANK


ATTORNEY OF RECORD FOR                                  AUTIIORIZED REPRSENTATIVE
PETITIONER:                                             OF THE ATTORNEY GENERAL:



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AUTHORIZED REPRESENTATIVE                               ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                              RESPONDENT:
AND HUMAN SERVICES:

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Dated:   o zJoI /1.,01.- Z..

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